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                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MISSOURI


In re                                               Bankruptcy Case No.: 16-20669-drd7

Andrew Jason Doppelt
                               Debtor.


Andrew Jason Doppelt,                               Adversary No. 16-02017-drd

                               Plaintiff,

               - against -

Access MD, LLC d/b/a Trinity School of
Medicine, Southcrest Bank, N.A., SouthEast
Bank, N.A. f/k/a SouthEast Bank & Trust,

                               Defendants.



        AGREED UPON MOTION TO INTERVENE AND SUBSTITUTE PARTIES

        Intervenor ReliaMax Surety Company (“ReliaMax”) hereby files this agreed upon motion

to intervene and substitute parties in the above-captioned adversary proceeding. Counsel for

plaintiff Andrew Jason Doppelt (“Plaintiff”) has represented that he consents to this motion.

        In support of the motion, ReliaMax states as follows:

        1.     On August 10, 2016, plaintiff Andrew Jason Doppelt (“Plaintiff”) filed a

Complaint naming three defendants, Access MD, LLC d/b/a Trinity School of Medicine

(“Access MD”), Southcrest Bank, N.A. (“Southcrest Bank”) and SouthEast Bank, N.A. f/k/a

SouthEast Bank and Trust (“SouthEast Bank”), and seeking an order from the Court that all of

Plaintiff’s student loans identified in the Complaint qualify for discharge under 11 U.S.C. §

523(a)(8). (See Complaint to Determine Dischargeability of Educational Loans [Doc 6] (the

“Complaint”)
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        2.      ReliaMax Lending Services, an entity related to ReliaMax, was served with the

Summons and Complaint via first class mail based on Plaintiff’s understanding that ReliaMax

Lending Services served as loan servicer for certain loans implicated by Plaintiff’s complaint.

        3.      Plaintiff’s Complaint identifies four loans at issue in the adversary proceeding.

(Complaint at ¶ 13.) Of those loans, Plaintiff alleges that the Century Security Bank loan now is

held by Southcrest Bank and that SouthEast Bank has its own loan, as well as a loan made by

Community Bank of the Cumberlands. (Id. at ¶¶ 6-7.)

        4.      The fourth loan identified in Plaintiff’s Complaint is allegedly held by Access

MD. (Complaint at ¶ 13.)

        5.      As ReliaMax informed Plaintiff’s counsel, the three loans allegedly held by

Southcrest Bank and SouthEast Bank are now owned by ReliaMax.

        6.      Neither Southcrest Bank nor SouthEast Bank hold any interest in the three loans

identified in Plaintiff’s Complaint. As a result, neither bank has any interest in defending or any

stake in the outcome of this adversary proceeding.

        7.      As the holder in due course of these three loans, ReliaMax is the real party in

interest to this adversary proceeding. As such, ReliaMax seeks the Court’s permission to

intervene as a defendant in this action and to substitute itself as a defendant for Southcrest Bank

and SouthEast Bank.

        8.      In an effort to keep only interested parties as named defendants in this adversary

proceeding, ReliaMax further requests that Southcrest Bank and SouthEast Bank be dismissed,

without prejudice, from this adversary proceeding, and that their names be removed from the

caption for all further filings.
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        9.     In the event this motion is granted, ReliaMax requests that any answer to the

Plaintiff’s complaint be due ten (10) days from the date the Court grants this motion to intervene.

        10.    ReliaMax holds no interest in the loan allegedly owned by Access MD. As a

result, this motion does not affect Access MD’s participation as a defendant in this matter.

        For the reasons stated herein, ReliaMax Surety Company hereby requests that the Court

grant its Agreed Upon Motion to Intervene and Substitute Parties.

                                                     Respectfully submitted,

                                                     THE OLSEN LAW FIRM, LLC

                                                      /s/ Jill D. Olsen
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